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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

 

 

 

 
  
 

 

 

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, MAR 18 2003
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Path fushin- Murs 5 CIVIL ACTION
“(Name of the plaintiff or plaintiffs) )
v. ) NO. AyQne
(Case numb& yAlQhgesupe
Louola U nae roeky JUDGE AMY ST. EVE
Medea Center MAGI
STRATE J
5 UDGE KEyg
(Name of the defendant or defendants) )

COMPLAINT OF EMPLOYMENT DISCRIMINATION

1. This is an op employment discrimination. .
2. The plaintiff is, maa adusin- dan ¥¢ AS | of

 

the county of Cok in the state of. Dp Qe AB AS

The defendant is Lp ola } nwersity Mec ical Cotter , who

resides at (street address) 2 | lp Dw Sputh Jot Avenue

(city) Max | upbec \ (county) Coo (state) T IL (ZIP) bo iw,

(Defendant’s telephone number) d b8) - Al 6 ~JooO

 
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4) The plaintiff sought employment or was employed by the defendant at

(street address) ‘2.1 bpp Sd |r Avenue.

(city) Maxpuoeed (county | no K (state) 4 0 (ZIP code) lpoiS 2

5. The plaintiff [check one box]
aL] was denied employment by the defendant.
oL] was hired and is still employed by the defendant.
@X was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) December. (day). __, (year) ZOOL.

7. (a) The plaintiff [check one box] x has not filed a charge or charges against the defendant

I has
asserting the acts of discrimination indicated in this complaint with any of the following

government agencies:

(i) x] the United States Equal Employment Opportunity Commission on or about

(month) ep amber (day) b5 (year) ZOOL .

(ii) LE] the Illinois Department of Human Rights on or about
(month) (day) (year)

 

(b) If charges were filed with an agency indicated above, a copy of the charge is

attached. YES [ | NO

It is the policy of both the Equal Employment Opportunity Commission and the Illinois Department
of Human Rights to cross-file with the other agency all charges received. The plaintiff has no reason

to believe that this policy was not followed in this case.

8. | the United States Equal Employment Opportunity Commission has not issued a

Notice of Right to Sue.

XX] the United States Equal Employment Opportunity Commission has issued a Notice

of Right to Sue, which was received by the plaintiff on (month) Wi ¢

 

 
9.

10,

11.

12.

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(day) \S (year) LooZ a copy of which Notice is attached to this

complaint.

The defendant discriminated against the plaintiff because of the plaintiffs [check all that apply}

(a) [] Age (Age Discrimination Employment Act).

wx] Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

oLJ Disability (Americans with Disabilities Act)

@L] National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
eX] Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

L_] Religion (Title VII of the Civil Rights Act of 1964)

@L] Sex (Title VII of the Civil Rights Act of 1964)

The plaintiff is suing the defendant, a state or local government agency, for discrimination on

the basis of race, color, or national origin (42 U.S.C. §1983).

yes [Jno

Jurisdiction over the statutory violation alleged is conferred as follows: over Title VII claims by
28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3); over 42 U.S.C.§1981 and
§1983 by 42 U.S.C.§1988; over the A.D.E.A. by 42 U.S.C.§12117.

The defendant [check all that apply}

~@L_] failed to hire the plaintiff.

(oy) X] terminated the plaintiff's employment.

(c) L] failed to promote the plaintiff.

aL] failed to reasonably accommodate the plaintiff's religion.

@L] failed to reasonably accommodate the plaintiff's disabilities.
aX] other (specify): Manager Chrnshne Murphy Usid her ty ye

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ppenly in public for Ne Apparent Teason, And

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13. The facts supporting the plaintiff's claim of discrimination are as follows:
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14, [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully

discriminated against the plaintiff. owt
uf raede dl
15. The plaintiff demands that the case be tried by a jury. YES [| NO

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff [check
all that apply]

(a)L_] Direct the defendant to hire the plaintiff.

(b) Direct the defendant to re-employ the plaintiff.

cL] Direct the defendant to promote the plaintiff.

@L_] Find that the defendant failed to reasonably accommodate the plaintiff's religion.

@L] Find that the defendant failed to reasonably accommodate the plaintiffs disabilities.

ox] Direct the defendant to (specify). )6 Ladue Orb. hark Q
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(g) If available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable attorney

fees and expert witness fees.

mX Grant such other relief. ag the Court/fnay ’ fin sro
(Plaintiff's signature) hi ees | wad S

(Plaintiff’s name) ust 4/n "a woe cls S
(Plaintiff's street address) ha I

 

 
    

Lo. Bo. 11%
cay Mey rood Saget —_zip)_bD153-D77

(Plaintiff's telephone number) (Tbs y- bi S D420

 

 

 
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‘ c™N —,
Egua! Employment Opportunity Commission
DISMISSAL AND NOTICE OF RIGHTS
To: Pamela Austin-Edwards From: Equal Employment Opportunity Commission
1414 North Maywood Drive Chicago District Office
P.O. Box 772 500 West Madison Street, Suite 2800
Maywood, IL 60153 Chicago, IL 60661-2511
CERT. MAIL #; 7099 3400 0006 7306 2084 C/P
[ J On behalf of a person aggrieved whese identity is
CONFIDENTIAL (29 CFR § 1601. 7(a))
Charge No. EEOC Representative Telephone No.
210A204831 Regina Husar, Enforcement Supervisor (312) 353-0819

 

(See the additional information attached to this fort.)

YOUR CHARGE IS DISMISSED FOR THE FOLLOWING REASON:

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{ J
L J
|
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{ ]
[| xX ]
[ ]
[ xX ]
[
{ ]

Enclosures

The facts you allege fail to state a claim under any of the statutes enforced by the Commission

Respondent employs less than (he required number of employees,

Your cliarge was not timely filed with the Commission, i.¢., you waited too long after the date(s) of the discrimination you alleged to
file your charge. Because il was filed outside the time limit prescribed by law, the Commission cannot investigate your allegations.

You failed to provide requested information, failed or refused to appear or to be available for necessary interviews/conferences, or

otherwise refused to cooperate to the extent that the Commission has been unable to resolve your charge. You have had more than 30 days
in which to respond to our final written request.

The Commission has made reasonable efforts to locate you and has been unable to do so. You have had at least 30 days in which to
respond to a notice sent to your last known address.

The respondent has made a reasonable settlement offer which affords full relief for the harm you alleged. At least 30 days have
expired since you received actual notice of this settlement offer.

The Commission issues the following determimation: Based upon the Commission's investigation, the Commission is unable to conclude

thal the information obtained establishes violations of the statutes, This does not certify that the respondent is in compliance with the
statules. No finding is made as to any other issues that might be construed as having been raised by this charge.

Other (briefly state)

 

- NOTICE OF SUIT RIGHTS -

Title VII and/or the Americans with Disabilities Act: This is your NOTICE OF RIGHT TO SUE, which terminates the

Commission's processing of your charge. If you want to pursue your charge further, you have the right to sue the respondent(s) named in
your charge in a court of competent jurisdiction. If you decide to sue, you must sue WITHIN 90 DAYS from your receipt of this
Notice; otherwise your right to sue is lost.

Age discrimination in Employment Act: This is your NOTICE OF DISMISSAL OR TERMINATION, which terminates processing

of your charge. If you want to pursue your charge further, you have the right to sue the respondent(s) named in your charge in a court of
competent jurisdiction, If you decide to sue, you must sue WITHIN 90 DAYS from your receipt of this Notice; otherwise your right
to sue is lost.

Equal Pay Act (EPA): EPA suits must be brought within 2 years (3 years for willful violations) of the alleged EPA underpayment.

On behalf of the Commission

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hn P. Rowe, District Director

Information Sheet
Copy of Charge

cc: Respondent(s) Loyola University Medical Center

EEOC Form 161 (Vest 5/95)

 
